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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


JOHN N. XEREAS,

                Plaintiff/Counter-Defendant,
         v.                                                        Civil Action No. 12-456
                                                                             DAR
MARJORIE A. HEISS, et al.,

                Defendants/ Counter-Plaintiffs.


                                  FINAL PRETRIAL ORDER

         The parties to the above-captioned action have consented to proceed before the

undersigned United States Magistrate Judge for all purposes. Counsel for the parties appeared

before the undersigned on October 5, 2018 for an interim pretrial conference, and on October 29,

2018 for the final pretrial conference. The instant order, entered pursuant to Rule 16(e) of the

Federal Rules of Civil Procedure and Local Civil Rule 16.5(a)(3), shall govern the subsequent

course of this action unless amended in accordance with these rules.


Nature of the Cause of Action

         The memorandum opinion and order granting in part Defendants’ Motion for Summary

Judgment (ECF Nos. 187, 188) identifies the claims pleaded by the Plaintiff which will proceed to

trial. All of the counterclaims pleaded by Defendants will proceed to trial. See 10/12/2018 Minute

Order.


Witnesses

         The witness lists included in the parties’ amended pretrial statements are incorporated

herein. As noted during the final pretrial conference, all parties failed to comply with Local Civil

Rule 16.5(b)(5). Therefore, the undersigned ordered the parties to supplement their witness lists
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by providing brief descriptions of the anticipated testimony to be elicited. The Plaintiff shall file

his supplement with regard to his case-in-chief on or before October 29, 2018. The Defendants

shall file their supplement on October 31, 2018. Finally, the Plaintiff shall file his supplement

with regard to the Defendant’s counterclaims by November 2, 2018.

         The court will undertake voir dire of Jim Morrissey out of the presence of the jury, as part

of the court’s determination of Defendants’ Motion in Limine (ECF No. 159), Defendants’ Motion

to Exclude (ECF No. 141), and Plaintiff’s Motion in Limine (ECF No. 169).

         Finally, Defendants’ counsel agrees to defer the examination of the individual Defendants

until after Plaintiff has completed his case-in-chief.


Exhibits

         The exhibit lists included in the parties’ pretrial statements are incorporated herein. The

parties shall exchange all exhibits by October 31, 2018. Plaintiff stipulates to the authenticity of

all exhibits, except for the following: (1) transcripts produced without the underlying recording,

see (ECF No. 165); (2) documents that appear to be emails but are illegible, see (ECF No. 168),

and any documents produced without Bates stamps.             Defendants waive any objections to

authenticity.

         Counsel shall mark all exhibits in the format prescribed by the Deputy Courtroom Clerk.




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Other Pretrial Materials

         Counsel for the Plaintiff shall make arrangements with the Clerk’s Office on or before

October 29, 2018 to discuss the use of the courtroom technology.




         November 1, 2018                                                                    .
                                                               DEBORAH A. ROBINSON
         NUNC PRO TUNC: October 29. 2018                       United States Magistrate Judge




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